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lN THE UNiTED STATES D|STR|CT COURT
FOR THE D|STR|CT OF i\/|ONTANA
M|SSOULA DiV|SiCN

JUD|TH NEWl\/iAN, v
as Personai Representative Cause No. 9:13-CV-00047-DLC
of the Estate of Kariye Nevvman

P|aintiff,

DEFENDANT’S STATEMENT OF
V. UND|SPUTED FACTS

UNiTED FlRE AND CASUALTY
COMPANY,

Defendant.

 

COiViES NOW Defendant United Fire and Casuaity Company (“United

Fire”), through its counsel of record, and submits its Statement of Undisputed

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Facts pursuant to L.R. 56.1(a).

1.

United Fire insured NCS under Policy # 104-60069871, which contains
two sub-policies, a Commercial General Policy (“CGL”) and an Umbrella
Policy (collectively, “Policy”). (CGL, Ex. A; Umbrella Policy, EX. B).
United Fire is an iowa Corporation with its principal place of business in
Cedar Rapids, lowa. (See Notice of Removal)

NCS is a limited liability company organized under the laws of the State
of Nevada. (Pl.’s Second Am. Compl., 11 25, Ex. C).

NCS purchased the United Fire Policy through NCS’s agent, Valley
insurance Brol<ers, P.O. Box 668, Hurricane, UT 84737. (CGL, Ex. A;
Umbrella Policy, Ex. B).

The Policy lists NCS’s mailing address as “170 W. State St., La Verkin,
Utah 84745-5503. (CGL, Ex. A; Umbrella Policy, Ex. B).

The Po|icy Dec Sheet identities the premises as 158 W. 1600 S #151,
St. George, UT 84770. (CGL, E)<. A; Umbrella Policy, Ex. B.)

The relevant coverage language of the 2004/2005 CGL states:

Commercia| General Liability Coverage Form

Section 1 - Coverages

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COVERAGE A - BOD|LY lNJURY AND PROPERTY DAMAGE
LIAB|L|TY

1. insuring Agreement.

a. We will pay those sums that the insured becomes
legally obligated to pay as damages because of"bodily
injury" or "property damage" to which the insurance
applies We will have the right and duty to defend the
insured against any "suit" seeking those damages.
However, we will have no duty to defend the insured
against any "suit" seeking damages for "bodily injury"
or "property damage" to which this insurance does not
apply. We may, at our discretion, investigate any
"occurrence" and settle any claim or "suit" that may
result.

(CGL, CGOOO11001, page 1, Ex. A).
The CGL limits coverage to NCS’s designated premises at St. George,
Utah, under the following provision:

LlMlTATlON OF COVERAGE TO DES|GNATED
PREM|SES OR PROJECT

This endorsement modifies the insurance provided under the
following:

COl\/ll\/|ERC|AL GENERAL LlABlLlTY COVERAGE PART
SCHEDULE

 

Premises:

AS SHOWN ON DEC
Project:

 

 

 

 

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(if no entry appears above, information required to complete this
endorsementwill be shown in the Deciarations as applicable to this
endorsement.)

This insurance applies only to "bodily injury”, “property
damage”, “personal and advertising injury” and medical
expenses arising out of:

1. The ownership, maintenance or use of the
premises shown in the Scheduie and operations
necessary or incidental to those premises; or

2. The project shown in the Scheduie.
(CGL, CG 21440798, Ex. A).
The relevant coverage language of the 2004/2005 Umbrella Poiicy
states:
COMMERC|AL UMBRELLA LlABiLlTY FOLiCV
SECT|ON ll - DEFENSE AND SUPPLEMENTARY PAYMENTS
- COVERAGES A AND B
We have the right to associate with the underlying insurer and the
insured to defend any claim or suit seeking damages for bodily
injury, property damage, personal and advertising injury to which

this insurance applies But

1. The amount we will pay for ultimate net loss is limited as
described in SECTlON lV - LllVilT OF lNSURANCE

2. We have a duty to defend any claims or suits not covered by
any underlying insurance shown in the Declaration; we also
have the duty to defend such claims or suits if the applicable
limit of underlying insurance is exhausted

(Umbrelia Policy, CX 70021299, page 7, Ex. B).

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The Umbrella Policy limits coverage to the designated premises in St.

George, Utah under the following provision:

LiMiTATiON OF COVERAGE TO DES|GNATED PREMISES
This endorsement modifies insurance provided underthe foilowing:
COMMERClAl_ UMBRELLA LlABiLlTY

SCHEDULE
Specined Location(s):
158 W. 1600 S #151 ST. GEORGE UT 84770

(lf no entry appears above, information required to complete this
endorsementwill be shown in the Deciarations as applicable to this
endorsement.)

This insurance applies only to bodily injury, property damage,
personal and advertising injury and medical expenses arising out
of the ownership, maintenance or use of the premises shown in the
Scheduie and operations necessary or incidental to those
premises;

(Umbrella Policy, CX 70661299, Ex. B).

The Policy contains several “Utah Changes” and references Utah law.
(CGL, UW 70020496, CG 01861093, CP 01270396, ii_ 02660702, EX. A;
Umbrella Policy, CX 70010100, CX 75430191, EX. B).

in i\/iay 2008, Judith Newman, as the personal representative of the
Estate of Karlye Newman, filed her Second Amended Complaint in the
Underiying Litigation. (Ex. C).

On September 16, 2008, Valley insurance Brokers, on behalf of NCS,

tendered the Second Amended Complaint to United Fire. (Ex. D).

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The Second Amended Complaint alleged the following:

3.

NCS is an LLC organized under the laws of the State of Nevada
and doing business in the State of iVlontana. (Pl.’s 2nd Am. Compl.
11 25, Ex. c).

Upon information and beiief, Robert Lichfield manages several
interlocking companies including NCS, which run behavior
modification residential programs (Ex. C, 1111 2-38).

One of the programs Lichfield ran was Spring Creek Lodge in
iVlontana. (Ex. C,11112-9).

Lichfield conducts business in Niontana, and has engaged in acts
while in l\/iontana in furtherance of his behavior modification
residential programs work. (Ex. C, 11 10).

NCS purported to provide the following services to Spring Creek:
marketing, promotion, admissions seminars newsletters support
services academic course outline, curriculum, manuals training
outlines, consulting, biliing, and collections (Ex. C, 11 27).

i\/iany services NCS claimed to provide to Spring Creek were
inadequate and contributed to Karlye Newman’s suffering and
eventual death. (Ex. C, 1111 42-80).

Karlye Newman resided at Spring Creek Lodge in l\/iontana from
lVlarch 31, 2004 to October 7, 2004. (Ex. C, 11 36).

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h. On October 7, 2004, Karlye went missing for over an hour. (Ex. C,
11 64).
i. The staff at Spring Creek made no attempt to look for her, or

othen/vise protect her. (Ex. C, 11 65).

j. That day, Karyle hung herself in her dormitory. (Ex. C, 11 66).

k. When a staff member discovered Karlye, the untrained and
unqualified staff member ran out in panic. (Ex. C, 11 67).

i. The Spring Creek staff failed to provide immediate and necessary
aid, which might have saved Karlye’s life. (Ex. C, 11 68).

By letter dated October 6, 2008, United Fire notified NCS that there was

no coverage because the Complaint clearly alleged the incident occurred

at a location known as Spring Creek and not the location described in the

policy. (United Fire Letter to NCS, Ex. E).

On January 20, 2010, Plaintiff’s counsel taxed a letter to United Fire

advising a mediation would take place on February 19, 201 O, and invited

United Fire to participate A copy of the Third Amended Complaint was

enclosed (Ex. F).

The allegations in the Third Amended Complaint as to NCS were:

a. NCS is an LLC organized under the laws of the State of Nevada.

(Pl.’s Third Am. Compl.11 25, Ex. G).

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Upon information and belief, Robert Lichfield manages several
interlocking companies including NCS, which run behavior
modification residential programs (Ex. G, 1111 2-38).

One of the programs Lichfield ran was Springs Creek Lodge in
Nlontana. (Ex. G, 1111 2-9).

Lichfield conducts business in Nlontana, and has engaged in acts
while in l\/lontana in furtherance of his behavior modification
residential programs work. (Ex. G, 11 10).

NCS purported to provide the following services to Spring Creek:
marketing, promotion, admissions seminars newsletters support
services academic course outline, curriculum, manuals training
outlines consulting, billing, and collections (Ex. G, 11 27).

l\/iany services NCS claimed to provide to Spring Creek were
inadequate and contributed to Karlye Newman’s suffering and
eventual death. (Ex. G, 1111 42-80).

Karlye Newman resided at Spring Creek Lodge in l\/lontana from
lViarch 31, 2004 to October 7, 2004. (Ex. G, 1111 50-80).

On October 7, 2004, Karlye went missing for over an hour. (Ex. G,
11 7).

The staff at Spring Creek made no attempt to look for her, or

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othenlvise protect her. (Ex. G, 11 77).
j. That day, Karyle hung herself in her dormitory. (Ex. G, 11 78).
k. When a staff member discovered Karlye, the untrained and
unqualified staff member ran out in panic. (Ex. G, 11 79).
l. The Spring Creek staff failed to provide immediate and necessary
aid, which might have saved Karlye’s life. (Ex. G, 11 80).
m. The named defendants are jointly liable for their negligent and
intentional tortious conduct (Ex. G,1111 87-134).
On January 27, 2010, United Fire responded to Plaintiff’s counsel and
declined the offer of settlement and advised there was no coverage (Ex.
H).
NCS entered into a stipulated judgment in the amount of 153 million.
NCS’s co-defendant, Teen Help, also settled with the Plaintiff for $3
million. Judgment was entered against NCS for $3 million on Aprii 6,
2010 (United Fire’s Answer 1111 9, 12).
Under this stipulated judgment, NCS assigned the Plaintiff all its rights
under the Policy. (United Fire’s Answer, 11 9).

DATED this 10th day of iVlay, 2013.

/s/ Stebhanie A. Hollar
Stephanie A. Hollar, Esq.
Dennis P. Clarke, Esq.
Sl\/llTH, WALSH, CLARKE & GREGO|RE, PLLP
Attorneys for Defendant

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CERT|F|CATE OF SERV|CE

l hereby certify that on the 10‘h day of i\/lay, 2013, a copy of the foregoing
document was served on the following persons via ClWECF:

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